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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



 GORDON SCHIFF and,
 CELESTE ROYCE,
             Plaintiffs,
 v.
                                                    Civil Action No. 1:25-CV-10595-LTS
 U.S. OFFICE OF PERSONNEL
 MANAGEMENT,
 CHARLES EZELL, in his official capacity as
 Acting Director of the U.S. Office of
 Personnel Management,
 U.S. DEPARTMENT OF HEALTH &
 HUMAN SERVICES,
 ROBERT F. KENNEDY, JR., in his official
 capacity as Secretary of Health and Human
 Services,
 AGENCY FOR HEALTHCARE RESEARCH
 AND QUALITY, and
 MAMATHA S. PANCHOLI, in her official
 capacity as Acting Director of the Agency for
 Healthcare Research and Quality,

                  Defendants.

                      DECLARATION OF NOAH PETERS

       I, Noah Peters, do hereby state and declare as follows, pursuant to 28 U.S.C. § 1746:

1. I am a Senior Advisor to the Director of the Office of Personnel Management (“OPM”). I

   submit this declaration in connection with the Defendants’ Motion to Dismiss the Complaint.

   The statements made herein are based on my personal knowledge and on information provided

   to me in the course of my official duties with OPM.

2. I have served as a Senior Advisor at OPM since January 20, 2025.

3. I am aware of the Court’s May 23, 2025, Order on a Motion for Preliminary Injunction

   (“Order”).



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4. I am aware that, pursuant to the Court’s Order, on May 27, 2025, the Agency for Healthcare

   Research and Quality reposted on PSNet, complete, unaltered versions of Dr. Schiff’s

   commentary on suicide risk and Dr. Royce’s commentary on endometriosis, as well as all other

   content authored by private parties that was removed from PSNet pursuant to the

   implementation of Executive Order 14,168. In total, nine articles authored by private parties

   (including the commentaries of Dr. Schiff and Dr. Royce) had been taken down and then were

   re-posted pursuant to the Court’s Order.

5. OPM will not enforce any OPM guidance related to Executive Order 14,168 as to Dr. Schiff’s

   article, Dr. Royce’s article, or any other articles that were previously removed from PSNet

   pursuant to the implementation of Executive Order 14,168 and subsequently re-posted

   pursuant to the Court’s Order (even assuming that OPM’s guidance or Executive Order 14,168

   ever applied to such materials).



       I declare under penalty of perjury that the foregoing statements are true and correct.

       Dated: June 15, 2025



                                                     ___________________________

                                                     Noah Peters




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